850 F.2d 690Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Sean M. SHROPSHIRE, Plaintiff-Appellant,v.E.L. WINGO, Sheriff;  Chesterfield County Sheriff'sDepartment, Defendants- Appellees.
    No. 88-6601.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 17, 1988.Decided:  June 16, 1988.
    
      Sean M. Shropshire, appellant pro se.
      Before K.K. HALL, SPROUSE and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Sean M. Shropshire appeals the district court's dismissal of this 42 U.S.C. Sec. 1983 action for failure to pay the assessed filing fee.  Finding that the district court properly complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and did not abuse its discretion in dismissing the action without prejudice, we affirm the district court's order.  We dispense with oral argument because the facts and legal arguments are adequately presented in the materials before the Court and oral argument would not significantly aid the decisional process.
    
    
      2
      AFFIRMED.
    
    